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                                  ORDER

     Pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its

progeny, the government has a continuing obligation to produce

all evidence required by the law and the Federal Rules of

Criminal Procedure.    See id. at 87 (holding that due process

requires disclosure of “evidence [that] is material either to

guilt or to punishment” upon request); Kyles v. Whitley, 514 U.S.

419, 437-38 (1995) (holding that the obligation to disclose

includes evidence “known only to police investigators and not to

the prosecutor,” and that “the individual prosecutor has a duty

to learn of any favorable evidence known to others acting on the

government’s behalf ..., including the police.”); United States

v. Agurs, 427 U.S. 97, 107 (1976) (holding that the duty to

disclose exculpatory evidence applies even when there has been no

request by the accused); Giglio v. United States, 405 U.S. 150,

153-54 (1972) (holding that Brady encompasses impeachment

evidence); see also Fed. R. Crim. P. 16(a) (outlining information

subject to government disclosure); United States v. Marshall, 132

F.3d 63, 67 (D.C. Cir. 1998) (holding that the disclosure

requirements of Fed. R. Crim. P. 16(a)(1)(C) apply to

inculpatory, as well as exculpatory, evidence).

     The government’s obligation to provide exculpatory evidence

pursuant to Brady in a timely manner is not diminished either by

the fact that such evidence also constitutes evidence that must

be produced later pursuant to the Jencks Act, 18 U.S.C. § 3500,
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or by the fact that such evidence need not be produced according

to Rule 16.      See United States v. Tarantino, 846 F.2d 1384, 1414

n.11 (D.C. Cir. 1988); see also Advisory Committee Note to Fed.

R. Crim. P. 16 (1974) (“The rule is intended to prescribe the

minimum amount of discovery to which the parties are entitled.”).

Where doubt exists as to the usefulness of the evidence to the

defendant, the government must resolve all such doubts in favor

of full disclosure.       See United States v. Paxson, 861 F.2d 730,

737 (D.C. Cir. 1988).

        Accordingly, the Court, sua sponte, directs the government

to produce to defendant in a timely manner any evidence in its

possession that is favorable to defendant and material either to

defendant’s guilt or punishment.           The government is further

directed to produce all discoverable evidence in a readily usable

form.    For example, the government must produce documents as they

are kept in the usual course of business or must organize and

label them clearly.       The government must also produce

electronically stored information in a form in which it is

ordinarily maintained unless the form is not readily usable, in

which case the government is directed to produce it in a readily

usable form.      If the information already exists or was

memorialized in a tangible format, such as a document or

recording, the information shall be produced in that format.               If

the information does not exist in such a format and, as a result,


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the government is providing the information in a summary format,

the summary must include sufficient detail and specificity to

enable the defense to assess its relevance and potential

usefulness.

     Finally, if the government has identified any information

which is favorable to the defendant but which the government

believes not to be material, the government shall submit such

information to the Court for in camera review. Relatedly, any

questions, objections, or interpretive disputes regarding any

portion of this Order shall be brought to the Court’s attention

as soon as possible after this Order is issued.

     This Order describes the obligations of “the government,”

which shall include all individuals, agencies, and offices

involved in the prosecution of this case. These individuals, as

described in this Order, are charged with learning of information

known to any other individual or entity, federal, state, or

local, that is “closely aligned with the prosecution” in this

case. United States v. Brooks, 966 F.2d 1500, 1503 (D.C. Cir.

1992) (quotation marks omitted). To ensure that such individuals

and entities are aware of the government’s obligations–and the

government’s responsibility to disclose information known to

them–the government is directed to provide a copy of this Order

to all individuals, agencies, and offices involved in the

prosecution of this case, as well as any other individual or


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entity, federal, state, or local, that is “closely aligned with

the prosecution” in this case.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          March 18, 2015




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